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 6
                                      UNITED STATES DISTRICT COURT
 7

 8               EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

 9
                                                  CASE NO.
10
     Vanessa Wright,
11
                               Plaintiff,         PLAINTIFF’S COMPLAINT FOR DAMAGES:
12
            v.
13                                                   1. Violation of the Rosenthal Fair Debt
                                                        Collection Practices Act
14   Avant, Inc.,                                    2. Violation of the Telephone Consumer
                                                        Protection Act
15                             Defendant.
16

17          COMES NOW Plaintiff Vanessa Wright, an individual, based on information and belief,
18   to allege as follows:
19                                          INTRODUCTION
20      1. This is an action for damages brought by an individual consumer for Defendant’s
21   violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seq.
22   (hereinafter “Rosenthal Act”), which prohibits debt collectors from engaging in abusive,
23   deceptive, and unfair practices and violation of the Telephone Consumer Protection Act 47
24   U.S.C. §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing
25   equipment when making calls to consumers.
26      2. Plaintiff brings this action against Defendant Avant, Inc. (hereinafter “Defendant” or
27   “Avant”) for its abusive and outrageous conduct in connection with debt collection activity.
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 1       3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the following
 2   findings and purpose in creating the Rosenthal Act:
            (a)(1) The banking and credit system and grantors of credit to consumers are dependent
 3
            upon the collection of just and owing debts. Unfair or deceptive collection practices
 4          undermine the public confidence which is essential to the continued functioning of the
            banking and credit system and sound extensions of credit to consumers.
 5
              (2) There is need to ensure that debt collectors and debtors exercise their responsibilities
 6
              to another with fairness and honesty and due regard or the rights of the other.
 7
              (b) It is the purpose of this title to prohibit debt collectors from engaging in unfair or
 8            deceptive acts of practices in the collection of consumer debts and to require debtors to
 9
              act fairly in entering into and honoring such debts, as specified in this title.

10
         4. While many violations are described below with specificity, this Complaint alleges
11
     violations of the statutes cited in their entirety.
12
         5. The TCPA was designed to prevent calls like the ones described herein, and to protect
13
     the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
14
     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
15
     associated with automated or prerecorded calls.
16
                                        JURISDICTION & VENUE
17
         6. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §
18
     227.
19
         7. This venue is proper pursuant to 28 U.S.C. §1391(b).
20
                                        GENERAL ALLEGATIONS
21
         8.   Plaintiff Vanessa Wright (hereinafter “Plaintiff”) is an individual residing in the state of
22
     California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).
23
         9.   At all relevant times herein, Avant was a company engaged, by the use of mail, email,
24
     and telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt,” as
25
     defined by Cal. Civ. Code §1788.2(f).
26
         10. At all relevant times, Defendant acted as a “debt collector” within the meaning of Cal.
27
     Civ. Code §1788.2(c)
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 1       11. Plaintiff had taken out a consumer loan with Defendant in approximately May of 2015.
 2       12. The loan Plaintiff took from Defendant was extended primarily for personal, family or
 3   household purposes and is therefore a “debt” as that terms is defined by the Calif. Civil Code §
 4   1788.2(d) of the Rosenthal Act.
 5       13. Defendant has been attempting to collect on a debt that originated from monetary credit
 6   that was extended primarily for personal, family, or household purposes, and was therefore a
 7   “consumer credit transaction” within the meaning of Calif. Civil Code § 1788.2(3) of the
 8   Rosenthal Act.
 9       14. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant rising
10   from what Plaintiff is informed and believes was a consumer credit transaction, the money
11   allegedly owed was a “consumer debt” within the meaning of California Civil Code § 1788.2(f)
12   of the Rosenthal Act.
13       15. Plaintiff is informed and believes that Defendant is one who regularly collects or
14   attempts to collect debts on behalf of themselves, and is therefore a “debt collector” within the
15   meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal Act, and thereby engages in “debt
16   collection” within the meaning of the California Civil Code § 1788.2(b) of the Rosenthal Act,
17   and is also therefore a “person” within the meaning of California Civil Code § 1788.2(g) of the
18   Rosenthal Act.
19       16. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
20   account.
21       17. Plaintiff was making payments on the loan before she became financially unable to keep
22   up with the monthly payments.
23       18. Defendant began contacting Plaintiff in July of 2018 to inquire about the status of the
24   loan and to collect on the payments that were no longer being made.
25       19. Plaintiff retained counsel to assist in dealing with Defendant’s debt and to seek some
26   type of financial relief.
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 1        20. Counsel for Plaintiff sent Defendant a letter confirming representation of Plaintiff and
 2   informing Defendant that it was to no longer contact Plaintiff directly and that all
 3   calls/letters/collection efforts were to no longer be directed at Plaintiff.
 4        21. The contents of the letter also informed Defendant that Plaintiff was withdrawing her
 5   consent to be contacted on her cellular telephone.
 6        22. Counsel for Plaintiff sent the letter of representation to Defendant on or about October
 7   11, 2018.
 8        23. Plaintiff believes that Defendant received Plaintiff’s letter of representation and
 9   revocation on or about October 16, 2018.
10        24. Plaintiff informed Defendant that she was revoking her consent to be called on her
11   cellular telephone in October of 2018.
12        25. Defendant continued to contact Plaintiff between approximately October 16, 2018 – at
13   least November 30, 2018; the type of contact was through phone calls to Plaintiff’s cellular
14   telephone.
15        26. Defendant would sometimes call Plaintiff numerous times each day demanding payment
16   on the account.
17        27. Defendant would use an automatic dialing machine when placing the calls to Plaintiff.
18        28. Plaintiff was contacted repeatedly regarding non-payment of the debt owed to
19   Defendant despite Defendant being notified that Plaintiff had retained counsel to deal
20   specifically with the debt owed to Defendant.
21        29. Defendant’s calls were frequent in nature and continued despite receiving written
22   confirmation that Plaintiff was represented by an attorney and that all calls to Plaintiff’s cellular
23   telephone were to stop.
24        30. Defendant would also mail payment demands to Plaintiff after Defendant was aware she
25   had retained counsel to assist with the debt owed to Defendant.
26   //
27   //
28   //

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                                      FIRST CAUSE OF ACTION
 1
                                      (Violation of the Rosenthal Act)
 2                                   (Cal. Civ. Code §§ 1788-1788.32)
                                            (Against Defendant)
 3

 4      31. Plaintiff realleges and incorporates herein the allegation in each and every paragraph

 5   above as though fully set forth herein.

 6      32. Plaintiff provided written notice that she was represented by sending Defendant a letter

 7   with the name, address, and contact information of his attorney and informed Defendant that she

 8   was represented.

 9      33. Defendant continued to call and attempt to make contact with Plaintiff despite receiving

10   notice of representation and being informed that Plaintiff had retained counsel in an effort to deal

11   with the debt that was owed to Defendant.

12      34. The calls and communications made by Defendant to Plaintiff were not related to

13   statements of Plaintiff’s account and were attempts to collect a debt.

14      35. Plaintiff received numerous calls from Defendant from at least October 16, 2018 –

15   November 30, 2018.

16      36. Over the course of approximately five weeks Defendant contacted Plaintiff on average

17   five times each day.

18      37. Plaintiff also received written payment demands from Defendant in addition to the calls.

19      38. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after receiving

20   noticed that Plaintiff had retained an attorney.
                                      SECOND CAUSE OF ACTION
21                                        (Violation of the TCPA)
                                              (47 USC § 227)
22
                                            (Against Defendant)
23
        39. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
24
     above as though fully set forth herein.
25
        40. Since at least early August of 2018 Defendant started calling Plaintiff’s cellular telephone
26
     requesting that payment be made on the accounts Plaintiff held with Defendant.
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                                                      5
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 1      41. Defendant was informed that Plaintiff revoked her consent to be contacted by Defendant

 2   in October of 2018.
 3      42. Defendant called Plaintiff numerous times since Plaintiff withdrew her consent to be

 4   contacted by an automatic dialing machine.
 5      43. Defendant would contact Plaintiff nearly daily regarding payment on the account.

 6      44. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver

 7   the collection messages without Plaintiff’s prior express consent.
 8      45. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing

 9   system” as defined by 47 U.S.C. §227(a)(1).
10      46. These calls were made to Plaintiff’s cellular telephone and were not calls for an

11   emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
12      47. Plaintiff expressly revoked any consent that may have previously been given to

13   Defendant to be contacted by an automatic dialing machine in October of 2018.
14      48. Overall Plaintiff was contacted at least 116 (one hundred and sixteen) times by Defendant

15   on her cellular phone.
16      49. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).

17                                      PRAYER FOR RELIEF
18   WHEREFORE, Plaintiff prays for judgment as follows:
19              a. An award of actual damages pursuant to California Civil Code §1788.30(a), as
20                  will be proven at trial, which are cumulative and in addition to all other remedies
21                  provided for in any other cause of action pursuant to California Civil Code
22                  §1788.32.
23              b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
24                  §1788.30(b), which are cumulative and in addition to all other remedies provided
25                  for in California Civil Code §1788.32; and
26              c. An award of costs of litigation and reasonable attorney’s fees pursuant to Cal.
27                  Civ. Code §1788.30(c).
28              d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C. §227(b)(3)(C)

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 1                for each and every violation.
 2             e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
 3                in the future.
                                                        GAJP, P.C.
 4
     Dated: March 4, 2019                         By:   /s/ Scott Johnson
 5                                                      Scott Johnson, Esq.
                                                        Attorneys for Plaintiff
 6
                                   DEMAND FOR JURY TRIAL
 7

 8

 9         Plaintiff hereby demands trial of this matter by jury.
                                                         GAJP, P.C.
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11
     Dated: March 4, 2019                               /s/ Scott Johnson
                                                        Scott Johnson, Esq.
12                                                      Attorneys for Plaintiff
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